Case 21-32642 Document 119 Filed in TXSB on 02/10/22 Page 1 of 18
Case 21-32642 Document 119 Filed in TXSB on 02/10/22 Page 2 of 18
Case 21-32642 Document 119 Filed in TXSB on 02/10/22 Page 3 of 18
Case 21-32642 Document 119 Filed in TXSB on 02/10/22 Page 4 of 18
Case 21-32642 Document 119 Filed in TXSB on 02/10/22 Page 5 of 18
Case 21-32642 Document 119 Filed in TXSB on 02/10/22 Page 6 of 18
Case 21-32642 Document 119 Filed in TXSB on 02/10/22 Page 7 of 18
Case 21-32642 Document 119 Filed in TXSB on 02/10/22 Page 8 of 18
Case 21-32642 Document 119 Filed in TXSB on 02/10/22 Page 9 of 18
Case 21-32642 Document 119 Filed in TXSB on 02/10/22 Page 10 of 18
Case 21-32642 Document 119 Filed in TXSB on 02/10/22 Page 11 of 18


                            2.Summary of Cash Activity for all Accounts

Total opening balance of all accounts                            7,786.02
Total cash receipt
Trucking(Triumph Business)                                    128,436.88
Trucking(Roll On Funding)                                            ‐
Trucking(Mobile Deposit & Wire transfer)                        2,300.00
Other Debtors                                                  56,314.47
ACH Return(Driver paymets return)                                 500.00
                                                              187,551.35
Total cash disbursements
Trucking(Driver Payments)                                      79,211.60
Local Vendors                                                  31,031.29
Other Expenses                                                 50,771.32
                                                              161,014.21

Net Cash flow                                                   26,537.14

Cash on hand at the end of the month                            34,323.16
            Case 21-32642 Document 119 Filed in TXSB on 02/10/22 Page 12 of 18


                                   AR AGING SUMMARY REPORT 01/2022

CUS ID   CUSTOMER NAME                                      AMOUNT      OVER 15      OVER 30     OVER 60     OVER 90
ALSHA    AL SHAMALI INTERNATIONAL FREIGHT SERVICES LLC     40,481.58   -1,492.54    13,855 00    2,887.39   25,231.73
FARMD    FARMDRIVE LLC, UKRAINE                            37,800.00        0.00         0.00        0.00   37,800.00
GANGEN   GANADOR GENERAL TRADING                            4,405.37        0.00         0.00      44.26     4,361.11
JC       Johnson Controls                                   1,150.00        0.00     1,150 00        0.00        0.00
KARLOG   KAREEM LOGISTICS, NAOURI GROUP                     5,495.00    5,495.00         0.00        0.00        0.00
SUPUSA   SUPERPAK USA INC.                                  4,990.11    4,990.11         0.00        0.00        0.00
TRU      TRUCKING CUSTOMERS RECEIVABLES                    55,772.87   29,255.00    26,517 87        0.00        0.00
UBMI     UBMI BV GERMANY C/O MR ANURAG                     14,957.00        0.00         0.00        0.00   14,957.00
WINCO    WINCO                                                75.00         0.00         0.00        0.00      75.00


         REPORT TOTAL                                    165,126.93 38,247.57      41,522.87    2,931.65 82,424.84
                  Case 21-32642 Document 119 Filed in TXSB on 02/10/22 Page 13 of 18


                                        A/P AGING SUMMARY REPORT 01/2022

Vendor:                                     Amount       Current     OVER 15      OVER 30    OVER 60   OVER 90
AIRMEN    AIR MENZIES INTERNATIONAL         283.69          0.00      283.69          0.00      0.00      0.00
BONLOG    BONANZA LOGISTICS                 650.00          0.00      650.00          0.00      0.00      0.00
CAROTR    CAROTRANS INTERNATIONAL INC     10,739.16         0.00    10,564.16         0.00      0.00    175.00
CODA      CODA LOGISTICS                    115.00          0.00         0.00         0.00      0.00    115.00
DGLEXP    DGL EXPORT INC                   2,100.00     2,100.00         0.00         0.00      0.00      0.00
DILCO     DILIGENCE CONSULTANCY           10,900.00    10,400.00      500.00          0.00      0.00      0.00
HAP       HAPAG-LLOYD                      2,746.00         0.00     2,746.00         0.00      0.00      0.00
LGL       LANDSTAR GLOBAL LOGISTICS         350.00          0.00         0.00         0.00      0.00    350.00
PARLOG    PARAGON LOGISTICS INC            8,499.41     4,690.11      247.22      3,562.08      0.00      0.00
TRUDEP    TRUCKING DEPARTMENT VENDOR      58,698.88         0.00    25,783.95    32,914.93      0.00      0.00


          REPORT TOTALS:                 95,082.14    17,190.11    40,775.02    36,477.01      0.00    640.00
Case 21-32642 Document 119 Filed in TXSB on 02/10/22 Page 14 of 18
Case 21-32642 Document 119 Filed in TXSB on 02/10/22 Page 15 of 18
                Case 21-32642 Document 119 Filed in TXSB on 02/10/22 Page 16 of 18


                                             BANK RECONCILIATION STATEMENT
PARTICULARS                                 AMOUNT AMOUNT

Balance as per Bank Statement                             ‐

Add:
Cheque deposited but not cleared                ‐         ‐

Less:
Cheque issued but not cleared in the bank       ‐         ‐


Balance as per Company Bank Book                          ‐
      Case 21-32642 Document 119 Filed in TXSB on 02/10/22 Page 17 of 18


                                                             Column A     Column B       Column C
                                                             Projected    Actual         Difference
32   Cash Receipt                                              319,536.35   144,248.69   ‐ 175,287.66
33   Cash Disbursement                                         284,488.90   171,816.31   ‐ 112,672.59
34   Net Cash Flow                                              35,047.45 ‐ 27,567.62    ‐ 62,615.07




35   Total projected cash receipt for the next month           319,536.35
36   Total projected cash disbursements for the next month     284,488.90
37   Total projected net cash flow for the next month           35,047.45
             Case 21-32642 Document 119 Filed in TXSB on 02/10/22 Page 18 of 18


Date   Shipment    Destination   Departure Date Arrival Date   Amount Quoted   Status   Dbl/Mbl
